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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS

JENNIFER LANCASTER, DAVE ELSWICK,
JIMMIE CAVIN, STEPHANIE DUKE,
JAN MORSE, JEFF MORSE, KIM BOURGEOIS,
MARK BOURGEOIS, RANDY SAMS, MARLA
SAMS, CODIE CRUMPTON, ANGELA ROSS,
CAROL TESSIER, KELLY MCELHANEY,
IRA (EUGENE) JAMISON, COTY POWERS,
TERRY KELLUM, KEITH KELLUM,
DR. ANITA WELLS, KANDI COX, LINDA MARSH,
SAM MARSH, AND ALFORD DRINKWATER                                                       PLAINTIFFS

VS.                                           2:24-CV-161

JOHN THURSTON, in his official capacity as
SECRETARY OF STATE AND AS CHAIRMAN
OF STATE BOARD OF ELECTION COMMISSIONERS,
and JOSEPH WOOD, CHAIRMAN OF THE
REPUBLICAN PARTY OF ARKANSAS                                                        DEFENDANTS


               SEPARATE DEFENDANT JOSEPH WOOD’S MOTION TO DISMISS

    COMES NOW, Separate Defendant Joseph Wood, as Chair of the Republican Party of

Arkansas, by and through counsel, Friday, Eldredge & Clark LLP, and for his Motion to Dismiss,

states:

          1.      On August 26, 2024, Plaintiffs filed their Complaint in this case against Defendants,

John Thurston, in his official capacity as Secretary of State and Chairman of State Board of election

Commissioners, and Joseph Wood, as Chairman of the Republican Party of Arkansas (hereinafter

“RPA”), seeking a declaratory judgment as to actions by the RPA and alleging that the Defendants

violated rights cognizable under 42 U.S.C. § 1983 and the “Arkansas Civil Rights Act of 1993”

[sic].




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       2.        Plaintiffs bring U.S. Constitutional and Arkansas Constitutional claims against

Defendants alleging deprivation of First Amendment rights to Free Speech and Assembly relating

to the RPA’s State Convention.

       3.        As is detailed in the accompanying Brief to this Motion, Separate Defendant Joseph

Wood, Chairman of the RPA (hereinafter “Chairman Wood”), is entitled to dismissal of all claims

against him pursuant to Fed. R. Civ. P. 12(b)(6) because he is not a state actor, as is required for a

§ 1983 action.

       4.        As is detailed in the accompanying Brief to this Motion, this Court should dismiss

supplemental state law equitable relief claims for lack of subject-matter jurisdiction pursuant to

Fed. R. Civ. P. 12(b)(1) and 12(h)(3).

       5.        Separate Defendant Wood incorporates by reference, as if repeated word for word,

his Brief in Support of the instant motion filed contemporaneously herewith pursuant to Fed. R.

Civ. P. 10(c). In addition, Chairman Wood adopts the Motion to Dismiss and Brief filed by Separate

Defendant John Thurston, Secretary of State.

       WHEREFORE, Separate Defendant Wood respectfully requests that this Court dismiss all

claims against him and for all other just and proper relief to which he is entitled.

                                               Respectfully Submitted,


                                               /s/ Kevin A. Crass
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                                               the RPA



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